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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF ILLINOIS
                           EAST ST. LOUIS DIVISION

CENTRAL LABORERS' PENSION WELFARE )
AND ANNUITY FUNDS,                )
                                  )
                Plaintiff,        )                        Case No. 23 cv-01512
                                  )
          v.                      )
                                  )                        Magistrate Judge Gilbert C. Sison
SOLDIER CONCRETE                  )
CONSTRUCTION, LLC, ET AL.         )
                                  )
          Defendants.

                        DECLARATION OF ETHAN G. ZELIZER
                       IN SUPPORT OF MOTION TO WITHDRAW

I, Ethan G. Zelizer, depose and states as follows:

1. I am over eighteen years of age and competent to testify in this matter. I have personal

knowledge of the matters set forth in this Declaration, and, if called to testify as a witness in

this case, I could and would competently testify as to the facts set forth below, as I know each

to be true based on my personal knowledge.

2. I am an Illinois attorney and the founder of HR Law Counsel, LLC, an Illinois law firm

formerly representing Defendant in this action.

3. After many communications to Defendants regarding paying their fees (including the initial

engagement fee), on or about October 5, 2023, I formally severed my relationship with

Defendants. See Exhibit A, August 14, 2023 E-mail exchange with Defendants (Dkt #34, Ex.

A); Exhibit B, September 20, 2023, Invoice to Defendants (Dkt #34, Ex. B); Exhibit C,

September 24, 2023, Invoice to Defendants (Dkt #34, Ex. C); Exhibit D, September 24, 2023,

E-mail exchange with Defendants (Dkt #34, Ex. D); Exhibit E, October 5, 2023, Withdrawal
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Letter to Defendants (Dkt #34, Ex. E). The exhibits are true and correct copies of the

documents listed in this paragraph.

4. In June 2023, Defendants agreed to a flat monthly fee of $3,500 to defend this lawsuit with

payments to roll over to the Defendants’ benefit from month-to-month.

5. The client paid $1,000 of that initial $3,500 engagement and failed to submit any further

payment, despite multiple requests.

6. On or about September 20, 2023, I attempted to cut my losses and requested that the client

agree to a very generous settlement payment plan of $2,500/month on a $52,000 sum. If

agreed, I would have accepted $2,100 in remaining fees and closed the matter. In addition to

resolving the case, this payment plan fit the client’s budget and instructions.

7. After disengaging in October 2023, I closed the case file and wrote off the fees as a loss.


8.   My former paralegal assisted me in this process. Due to her unfamiliarity with the

withdrawal process, the proper paperwork was not filed with the Court. Moreover, my former

paralegal directed all emails from this case to our “closed” email folder.

9. Ultimately, the failure to file a proper withdrawal motion and the inattentiveness to the

docket falls squarely on my shoulders.

10. On July 26, 2024, the undersigned attorney filed a motion for a Status conference to

explain the situation to the Court. (Dkt #33). I also filed an affidavit in support of the motion

under seal. (Dkt. #34).

11. On August 19, 2024, the undersigned attorney was held in civil contempt and commanded

to pay a fine of $25.00 per business day. (Dkt. #37).

12. A Status Conference was held on 10/2/2024. Attorney Chet Kelly appeared on behalf of

the plaintiff. I appeared on behalf of defendants. Defendant, Bart Kunkel did not appear. I
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advised the Court that I would make contact with Mr. Kunkel, advise him of the proceedings,

and ultimately file a motion to withdraw.

13. As of 10/31/24, Defendant, Bart Kunkel, has failed to respond to any of my

communications and has ignored notices from the Court.

14. Having provided Defendants with ample notice of my intent to withdraw and repeatedly

attempting to contact Mr. Kunkel to advise him of the proceedings and his next steps, and

having received no response, the undersigned attorney is forced to file his motion to withdraw

without full notice to the party Defendants.


I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge. Executed this 1st Day on November,

2024.

        By: /s/ Ethan G. Zelizer Ethan G. Zelizer

        Ethan G. Zelizer, HR LAW COUNSEL
